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          Exhibit B
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                                                                                                          INVOICE
                                                                                                      Invoice # 201
                                                                                                   Date: 04/05/2018
                                                                                                 Due On: 05/05/2018


Angela Gaterman-Pauli
4533 Greenpark Road
St Louis, MO 63123

2017-11-07521Gaterman-PauliAngela
EDS management Corp vs Angela Gaterman (2 files)


  Type         Date                            Description                           Quantity    Rate       Total

 Service    11/06/2017   Requested full court file from Civil Court, County of NY.       0.25   $350.00     $87.50

 Service    11/27/2017   Review of all previous pleadings and dismissal                  1.50   $350.00    $525.00
                         decision.

 Service    12/04/2017   Research and drafting of order to show cause to vacate          3.00   $350.00   $1,050.00
                         judgment and dismiss action against client.

 Service    12/12/2017   Drafted Affidavit of Merit of Angela Pauli Gaterman and         1.00   $350.00    $350.00
                         Robert Pauli.

 Service    12/21/2017   Finalized motion to vacate judgment and dismiss and             1.00   $350.00    $350.00
                         added all exhibits.

 Service    12/22/2017   Final review and approval of motion to be filed.                0.75   $350.00    $262.50

 Service    12/27/2017   Filed Order to Show Cause and had signed by Judge               1.00   $350.00    $350.00
                         John Kelley, New York County Civil Court. Opposing
                         counsel must be served by 12/29. Motion set to be
                         heard on 1/12/2018.




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Service    12/29/2017   Mailed Order to Show Cause to Kavulich and                     0.25     $175.00       $43.75
                        associates via priority mail.

Service    12/29/2017   Drafted affidavit of service for OTSC, made a copy,            0.50     $175.00       $87.50
                        prepared a signed OTSC to be priority mailed to the o/c
                        office today.

Service    01/12/2018   Appeared to argue motion. Opposing counsel asked for           1.00     $350.00      $350.00
                        adjournment to submit reply. Judge granted
                        adjournment and set argument for 2/22/2018.

Service    02/22/2018   Appeared to argue motion. Opposing counsel asked for           1.00     $350.00      $350.00
                        adjournment to submit reply again. Judge granted final
                        adjournment and set argument for 2/28/2018.

Service    02/28/2018   Argued motion to vacate and dismiss in front of Judge          2.00     $350.00      $700.00
                        Dakota Ramseur, NY Civil Court. Judge granted our
                        motion vacate the judgment and dismiss this action
                        against our client with Prejudice.

Service    03/05/2018   Notice of Entry of Judgment and decision mailed to             0.25     $350.00       $87.50
                        opposing counsel, Kavulich and Associates as directed
                        by the court.



                 Time Keeper                             Quantity                   Rate                  Total

Arthur Lebedin                                                        2.5                  $350.00           $875.00

Stephannie Miranda                                                  10.25                  $350.00         $3,587.50

Kristin Arroyo                                                       0.25                  $175.00            $43.75

Esta Kravets                                                          0.5                  $175.00            $87.50

                                                                                         Subtotal          $4,593.75

                                                                                Invoice Discount           $1,500.00

                                                                        $1,500 paid by client as initial retainer fee.

                                                                                              Total        $3,093.75




Detailed Statement of Account

Current Invoice

   Invoice Number             Due On           Amount Due              Payments Received              Balance Due

201                         05/05/2018                $3,093.75                               $0.00        $3,093.75

                                                                            Outstanding Balance            $3,093.75




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                                                                                Invoice # 201 - 04/05/2018




                                                               Total Amount Outstanding        $3,093.75




Please make all amounts payable to: Lebedin & Kofman

Please pay within 30 days.




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